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11                     IN THE UNITED STATES DISTRICT COURT
12                FOR THE EASTERN DISTRICT OF WASHINGTON
13
     PREPARED FOOD PHOTOS, INC.                 Civil Action No. 2:23-cv-00160-TOR
14   f/k/a ADLIFE MARKETING &
15
     COMMUNICATIONS CO., INC.,

16   Plaintiff,
17   v.                                         PLAINTIFF’S MEMORANDUM IN
18
                                                OPPOSITION TO DEFENDANT’S
     POOL WORLD, INC.,                          MOTION TO COMPEL
19                                              DISCOVERY
20   Defendant.
21

22

23

24

25




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 1         Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing &
 2
     Communications Co., Inc. (“Plaintiff”) hereby files this memorandum in
 3
     opposition to defendant Pool World, Inc.’s (“Defendant”) Motion to Compel
 4

 5   Discovery (the “Motion”) [E.C.F. No. 60].
 6
                                     INTRODUCTION
 7

 8
           Plaintiff asserts a single claim for copyright infringement against Defendant

 9   with respect to its alleged unauthorized display of a single photograph on its
10
     website. With respect to damages, Plaintiff has proffered a theory that its damages
11
     can be assessed by virtue of the annual license amount charged to Plaintiff’s
12

13   subscribers. Defendant, in turn, contends that Plaintiff’s damages are limited to a

14   ‘few dollars’ and/or cents. While the jury will ultimately decide which damages
15
     theory to accept (subject to the Court’s instruction), Defendant once again
16
     approaches the Court with a motion to compel discovery that is grossly overbroad,
17

18   unduly burdensome, and not proportional to the needs of the case. And while

19   Defendant does (yet again) an impressive job in attacking Plaintiff and its business,
20
     it fails to set forth why the discovery it seeks to compel has any relevance to the
21
     issues herein or why a more reasonable limitation (which Plaintiff has already
22

23   offered) is somehow unacceptable.

24         Defendant’s document requests can be boiled down into two classifications:
25
     (1) to discover if any subscription agreements are the subject of a negotiated


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 1   settlement, Defendant wants to know; and (2), to obtain documents that are
 2
     ‘relevant’ to Plaintiff’s damage calculation. At first blush, Defendant’s
 3
     requests/arguments may seem sensical, but looking past the smoke and mirrors,
 4

 5   Defendant requests documents that quickly (and fatally) fall into taboo discovery
 6   classifications – that being overbroad, unduly burdensome, and/or irrelevant.
 7
     Defendant implores the Court to involve itself in a matter that is frankly redundant.
 8
     Defendant already has the information relevant to its damages calculation, and
 9

10   therefore the Motion should be denied.
11
                                      BACKGROUND
12
           1.     On January 18, 2024, Defendant served its Third Set of Requests for
13

14
     Production of Documents (the “Third Request for Production”).

15         2.     On February 19, 2024, Plaintiff served its written responses to the
16
     Third Request for Production.
17
           3.     The Third Request for Production contains three (3) requests which
18

19
     Plaintiff objected to:   Request Nos. 14, 15 and 16.

20         4.     Defendant now seeks this Court to compel Plaintiff to produce
21
     documents responsive to Document Request Nos. 14, 15, and 16.
22
           5.     In the course of discovery, Plaintiff has produced/disclosed to
23
     Defendant all of its subscriber agreements, revenues generated from
24
     licensing/subscriptions, and revenue as a result of any other source (e.g., Plaintiff’s
25
     previous relationship with iStock/Getty).


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 1                                     ARGUMENT
 2   I.    Legal Standard
 3
           “Parties may obtain discovery regarding any nonprivileged matter that is
 4
     relevant to any party’s claim or defense….” Fed. R. Civ. P. 26(b)(1). “In general,
 5

 6   the Federal Rules of Civil Procedure permit relatively broad yet tailored and

 7   proportional discovery of relevant material.” See Rugo v. Hardwick, No. 2:16-CV-
 8
     00444-SMJ, 2017 U.S. Dist. LEXIS 93485, at *5 (E.D. Wash. June 16, 2017).
 9
     Discovery, however, “may not be used to conduct a fishing expedition in hopes
10

11   that some fact supporting an allegation will be uncovered.” Inst. for Wildlife Prot.
12   v. Norton, 337 F. Supp. 2d 1223, 1226 (W.D. Wash. 2004).
13
     II.   Whether the Subscription Agreement is Resultant of a Negotiated
14   Settlement
15
           Request Nos. 14 and 16 seek all communications, spanning over an
16
     unspecified number of years, with each of Plaintiff’s subscribers. Here, Defendant
17

18   ostensibly seeks to discover whether any of the subscription agreements were the

19   subject of negotiated settlement agreements. As a threshold matter, Plaintiff has
20
     already disclosed to Defendant that certain subscription agreements were entered
21
     into by alleged infringers (with Plaintiff’s counsel previously disclosing the
22

23   identity of multiple such subscribers). Plaintiff has likewise offered – during the

24   parties’ attempt to meet and confer on the subject – to fully identify each and every
25
     subscriber that previously received (or whose customer previously received) an


                                              4
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 1   infringement demand from Plaintiff that ultimately resulted in the subscription
 2
     agreement. Plaintiff likewise offered to either produce such infringement demand
 3
     letters or to disclose the dates thereof, the recipients thereof, the monetary demand
 4

 5   made with respect to each, and which subscribers continued beyond the initial term
 6   of their agreements. Without conceding the relevance/admissibility of any such
 7
     information, Plaintiff’s offer would provide full light on Defendant’s inquiry
 8
     without individual review of tens of thousands of e-mails dating back to 2016.
 9

10         Defendant, however, rejected this proposal as it was “skeptical” and insists
11
     instead on reviewing every communication – whether internal or with Plaintiff’s
12
     subscribers – with respect to every subscriber Plaintiff has had dating back to 2016.
13

14
     Here, Defendant’s ‘skepticism’ is less fishing expedition and more accurately

15   described as a witch hunt to unveil documents that Defendant’s counsel can add to
16
     his blogging campaign against Plaintiff. 1 That Defendant’s counsel is fishing for
17

18

19
     1
           See, e.g., https://www.citizen.org/litigation/prepared-food-photos-v-pool-
20
     world/;   https://clpblog.citizen.org/is-prepared-food-photos-running-a-scam-not-
21
     just-a-scheme-to-extract-excessive-rents/;     https://clpblog.citizen.org/prepared-
22

23
     food-photos-faces-financial-repercussions-from-copyright-trolling/;

24   https://clpblog.citizen.org/new-trolls-on-the-block-prepared-food-photos-and-
25
     daniel-desouza-copycat-legal/.


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 1   new information to blog about, however, does not justify the incredibly overbroad
 2
     and invasive discovery that Defendant is demanding due to its ‘skepticism.’
 3
            Further, Request Nos. 14 and 16 are undoubtedly overbroad and unduly
 4

 5   burdensome. See Gopher Media, LLC v. Spain, No. 3:19-cv-02280-CAB-KSC,
 6   2020 U.S. Dist. LEXIS 215002, at *7 (S.D. Cal. Nov. 17, 2020) (“As a rule,
 7
     requests for ‘any and all’ documents or communications (or testimony about those
 8
     materials) are facially overbroad.”); Painters Joint Comm. v. Emp. Painters Tr.
 9

10   Health & Welfare Fund, No. 2:10-cv-01385-JCM-PAL, 2011 U.S. Dist. LEXIS
11
     112505, at *7 (D. Nev. Sep. 28, 2011) (“The court finds the subpoena issued to
12
     non-party B&H is overbroad on its face in requesting ‘any and all documents’ for
13

14
     a five-year period of time involving seven different individuals and entities.”);

15   Choquette v. Warner, No. 3:15-CV-05838-BHS-JRC, 2017 U.S. Dist. LEXIS
16
     95889, at *13 (W.D. Wash. June 21, 2017) (“RFP No. 12 is overbroad and
17
     burdensome. Plaintiff requests production of all communications, research, reports
18

19
     and decisions pertaining to Gabapentin since January 1, 2012. This request does

20   not meet the requirement of being reasonably targeted and specific. In addition,
21
     defendants’ burden of producing many years’ worth of communications relating to
22
     Gabapentin outweighs the likely benefits to plaintiff, and the cost required to
23

24   produce such communications will harm defendants. Avoiding particularized harm

25   to the party seeking protection constitutes ‘good cause’ for a protective


                                             6
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 1   order. Thus, the Court grants defendants’ motion for protective order as to
 2
     plaintiff's RFP No. 12.”). Notably, because the alleged infringement in this case
 3
     commenced prior to Plaintiff’s Copyright Office registration, Plaintiff may only
 4

 5   recover its actual (not statutory) damages/disgorgement of profits. According to
 6   Defendant’s theory, this amounts to “a few dollars at most.” 2 If Defendant
 7
     ultimately prevails on that theory, then the discovery it now seeks is certainly not
 8
     proportional to the needs of this case as Plaintiff would be forced to expend
 9

10   thousands of dollars in hosting data with an e-discovery vendor and what is likely
11
     dozens if not hundreds of hours in attorney review time to sift through tens of
12
     thousands of e-mails for responsiveness.
13

14
            Finally, Plaintiff seriously questions the relevance of how a subscription

15   agreement is entered into is relevant to Defendant. It is a foundational principle of
16
     contract law – parties are free to contract.
17
     III.   Relevance to Damages Calculation
18

19
            Beyond seeking all communications (both internal and with subscribers),

20   Defendant likewise seeks “any and all” records of payments received from
21
     subscribers. Such request is painfully overbroad for the same reasons (and same
22

23

24   2
            See Motion, at p. 3; D.E. 21, at p. 4 (same); see also D.E. 54-1, at p. 2
25
     (remarking that Plaintiff’s damages are “some fraction of 95 cents”).


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 1   legal authority) identified above. Here, Defendant believes that seeing every
 2
     payment made by subscribers (another non-temporally limited request) will yield
 3
     documents “showing that subscribers dropped their ‘subscriptions’ immediately at
 4

 5   the end of the initial period [which] could help establish that marketplace access to
 6   the photos was not the real reason for the subscription.” 3
 7
           As discussed above, Plaintiff has already offered (and Defendant has already
 8
     rejected) to identify subscribers whose agreements were preceded by an
 9

10   infringement allegation and to likewise identify subscribers who terminated such
11
     agreement after its initial term. In addition to this, Plaintiff has already produced
12
     (in response to prior document requests) all of the subscriber agreements,
13

14
     documents identifying Plaintiff’s licensing revenue on an annual basis, and

15   documents identifying Plaintiff’s revenue from its previous business relationship
16
     with iStock/Getty (the entity on which the photograph at issue was available for
17
     license at the time of the alleged infringement).          None of this, however, is
18

19
     apparently good enough for Defendant who (without outright saying so in the

20   Motion) apparently believes a forensic audit of Plaintiff’s overall financials are
21
     necessary with respect to its actual damages arising from Defendant’s 1
22
     infringement.
23

24

25   3
           See Motion, at p. 7.


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 1    Defendant’s theories, while novel, are frankly silly. Although Plaintiff has
 2
     offered to identify subscribers who did not continue beyond an initial term (thus
 3
     mooting the issue), the point remains that such information – standing on its own
 4

 5   – has no bearing on the outcome of this case. A subscriber who terminates an
 6   agreement after the initial (or second, third, etc.) term can do so for a myriad of
 7
     reasons – i.e., because it no longer needs access to a library of photographs, because
 8
     its business model has changed, because its financial strength has changed, etc.
 9

10   Unless Defendant is prepared to offer rampant speculation at trial, the production
11
     of documents showing “any and all” payments to Plaintiff is not somehow going
12
     to make Defendant privy to business decisions made by each individual subscriber.
13

14
           Defendant seeks irrelevant, burdensome, and overbroad information in a

15   quest to ‘dismantle’ Plaintiff’s damages calculation. Whether Defendant believes
16
     that it can do such on summary judgment or not ignores the flashing red light of
17
     Defendant’s liability for the infringement.
18

19
           Further, in support of its argument about relevance to damages calculations,

20   Defendant cites to a singular case – Jarvis v. K2, Inc., 486 F. 3d 536, 534 (9th Cir.
21
     2007), quoting On Davis v. The Gap, Inc., 246 F.3d 152, 166 (2d Cir. 2001) that
22
     damages are based on “not what the owner would have charged, but rather what is
23

24   the fair market value.” That Defendant cherrypicked the aforementioned one

25   sentence is intriguing, as Defendant chose to ignore the entire preceding portion of


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 1   the paragraph from which the On Davis quote can be found. In totality, Jarvis says:
 2
                  Actual damages for copyright infringement are governed
 3                by § 504(b), which states that “[t]he copyright owner is
                  entitled to recover the actual damages suffered by him or
 4
                  her as a result of the infringement,” but does not
 5                elaborate on how the damages are to be calculated. We
                  have held that in situations where the infringer could
 6                have bargained with the copyright owner to purchase the
 7                right to use the work, actual damages are “‘what a
                  willing buyer would have been reasonably required to
 8                pay to a willing seller for plaintiffs’ work.’” Frank
                  Music Corp., 772 F.2d at 512 (quoting Sid & Marty
 9
                  Krofft Television Prods., Inc. v. McDonald’s Corp., 562
10                F.2d 1157, 1174 (9th Cir. 1977)). Excessively
                  speculative claims of damages are to be rejected, id. at
11
                  513, and the “market value approach is an objective, not
12                a subjective, analysis,” Mackie v. Rieser, 296 F.3d 909,
                  917 (9th Cir. 2002); see also On Davis v. The Gap, Inc.,
13                246 F.3d 152, 166 (2d Cir. 2001) (“The question is not
14
                  what the owner would have charged, but rather what is
                  the fair market value.”).
15
     Jarvis, 486 F. 3d at 533–34 (emphasis added). Defendant ignores that actual
16

17   damages contemplate what a willing buyer would have been required to pay a
18   willing seller, and in lieu only presents to the Court that it does not matter what a
19
     copyright owner would have charged. To evaluate non-speculative damages,
20
     Plaintiff can (and has) produced subscription agreements. See Dash v.
21

22   Mayweather, 731 F.3d 303, 318 (4th Cir. 2013) (“To survive summary judgment
23
     of an actual damages claim, a copyright holder must show that the thing taken had
24
     a fair market value. Evidence of the owner’s prior sale or licensing of copyrighted
25
     work will satisfy this burden when it is sufficiently concrete.” (cleaned up)).

                                              10
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 1         In Request No. 15, Defendant requests any and all documents reflecting
 2
     payments made pursuant to subscription agreements. However, the scope of
 3
     discovery is as follows:
 4

 5                Parties may obtain discovery regarding any
                  nonprivileged matter that is relevant to any party’s claim
 6                or defense and proportional to the needs of the case,
 7                considering the importance of the issues at stake in the
                  action, the amount in controversy, the parties’ relative
 8                access to the relevant information, the parties’ resources,
                  the importance of discovery in resolving the issues, and
 9
                  whether the burden or expense of the proposed discovery
10                outweighs its likely benefit.…
11
     Fed. R. Civ. P. 26(b)(1) (emphasis added). Defendant’s request is not proportional
12
     to the needs of the case and is irrelevant. Defendant’s request is unduly
13

14
     burdensome and duplicative of information Defendant already has. The notion that

15   Defendant needs to see any and all payments being made to Plaintiff to calculate
16
     damages or support its damages theory is absurd.
17
                                      CONCLUSION
18

19
           For the foregoing reasons, Plaintiff respectfully requests that the Court enter

20   an Order: (a) denying the Motion; (b) awarding Plaintiff its reasonable fees and
21
     expenses incurred in opposing the Motion pursuant to Fed. R. Civ. P. 37(a)(5)(B);
22
     and (c) for such further relief as the Court deems proper.
23

24

25




                                              11
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                                              By: /s/ Lauren Hausman_
12                                                Lauren Hausman Esq.

13                            CERTIFICATE OF SERVICE
14         I hereby certify that on November 15, 2024, I electronically filed the
15
     foregoing document with the Clerk of the Court using CM/ECF, which will
16
     electronically serve all counsel of record.
17

18
                                              /s/ Lauren Hausman        ___
19                                            Lauren Hausman Esq.

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                                               12
